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CR_04-00911-003-TUC-DCB(BPV) | 9 200pate: 2/4/2005

Hon. _DAVID C. BURY, United States District JGKERK SDISTE'ST GoyRy—Tudge #:_7030
re CT OF ARIZOMA

USA v. _Eugene Anthony Peterson Y

DEFENDANT: &] Present [J] Not Present [] Released

“Toy

Custody [1 Writ

Deputy Clerk _Cathy Schwader Crt Rptr: Chris Calles

U.S. Atty: _Maria Davila Intrptr:

Dft Atty: _Homero Torralba, (Retained) K Present

(] Dft not appearing, on mot of US Atty, order bond revoked/forfeited and B/W
*ssued JUDGMENT [SENTENCE]

[] Defendant is placed on probation for a period of
on Cts(s) _ C] with supervision 0) w/o supervision

h} Committed to the custody of the Bureau of Prisons to be imprisoned for a
period of _60 Months on Cts(s)_4

X Supervised release term of _4 Years by law on Ct(s)_4

[] Fine of _$0 on Ct(s)_4_ TOTAL FINE _SO_

Oh Restitution of _$0_ ordered pursuant to 1:3580

Kl Special Assessment of _$100.00 pursuant to 18:3013 on Ct(s)_4

& On Motion of U.S. Atty: Ct(s) all remaining counts are dismissed

[] Order bond exonerated [] Bond exonerated upon surrender to USM

[] Dft advised of right to appeal J Appeal bond set at $

[] Dft to surrender under Voluntary Surrender Program as directed to the
designated institution by the U.S. Marshal.

Kl The Court adopts the Magistrate Judge's Findings and Recommendations filed
in this matter and accepts the defendant's plea of guilty.

K Addt'l conditions supervised release: Defendant shall participate ina

substance abuse treatment program, submit to search, cooperate in the
collection of DNA, all as directed by the PO; defendant shall enroll in and
complete a GED program.

&) Other: _The Court recommends the defendant be designated to an institution
where he can participate in a nonresidential substance abuse treatment
program.

USA, PO, PSA, Counsel (Homero Torralba)

